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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. DRUMMOND2016 OK 26Case Number: SCBD-6368Decided: 03/07/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 26, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
L. Caroline Drummond, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Plea, in which L. Caroline Drummond entered a plea of guilty to one felony count of Bringing/Possessing Contraband in Jail/Penal Institution, in violation of 57 O.S. 2011 §21(A), occurring on April 28, 2015. The OBA also forwarded a certified copy of the Deferred Sentence.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that L. Caroline Drummond is immediately suspended from the practice of law. L. Caroline Drummond is directed to show cause, if any, no later than March 18, 2016, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until March 29, 2016, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, L. Caroline Drummond has until April 14, 2016, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until May 2, 2016, to respond.
¶4 DONE BY ORDER OF THE SUPREME COURT this 7th day of March, 2016.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR. 




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